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 5   Attorney for Defendant
     SANDRA LE
 6

 7                                UNITED STATES DISTRICT COURT

 8                               NORTHERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          Case No. CR 21-00331 WHO

11                  Plaintiff,                          STIPULATION TO VACATE AND
                                                        RESET STATUS HEARING AND
12          v.                                          EXCLUDE TIME FROM FEBRUARY 3,
                                                        2022 TO MARCH 31, 2022; [PROPOSED]
13   SANDRA LE,                                         ORDER

14                  Defendant.
15

16           It is stipulated by and between counsel for the United States and counsel for the
17   defendant, Sandra Le, that the status conference scheduled for February 3, 2022 at 1:30 before
18   the Hon. William H. Orrick be vacated and rescheduled for March 31, 2022 at 1:30 PM.
19          Based on ongoing discussions with the Government, defense counsel anticipates receiving
20   additional discovery. The anticipated discovery is expected to be voluminous. Additional time is
21   needed to evaluate, process, discuss with Ms. Le, and conduct any defense investigation, if
22   necessary, before proceeding.
23           Based on the foregoing, the parties stipulate and agree that excluding time from February
24   3, 2022 until March 31, 2022 will allow for the effective preparation of counsel. See 18 U.S.C.
25   § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by
26   excluding the time from February 3, 2022 until March 31, 2022 from computation under the
27   Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial. 18
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                                         STIP. TO VACATE AND RESET HEARING; [PROPOSED] ORDER
                                                                      CASE NO. CR 21-00331 WHO
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 1   U.S.C. § 3161(h)(7)(A), (B)(iv).

 2          Undersigned defense counsel certifies that she obtained approval from the Assistant

 3   United States Attorney to file this stipulation and proposed order.

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            IT IS SO STIPULATED
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     DATED: February 1, 2022                  By:                  /s/
 9                                                  Ashley Riser
                                                    Counsel for SANDRA LE
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11
     DATED: February 1, 2022                  UNITED STATES ATTORNEY’S OFFICE
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13
                                              By:                           /s/
14                                                  KENNETH CHAMBERS
                                                    Attorneys for Plaintiff
15                                                  UNITED STATES OF AMERICA
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                                         STIP. TO VACATE AND RESET HEARING; [PROPOSED] ORDER
                                                                      CASE NO. CR 21-00331 WHO
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 1                                       [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and for good cause shown,

 3   the Court vacates the status conference scheduled for February 3, 2022 at 1:30 P.M. and

 4   reschedules it for March 31, 2022 at 1:30 PM. The Court further finds that failing to exclude the

 5   time from February 3, 2022 until March 31, 2022 would unreasonably deny defense counsel and

 6   the defendant the reasonable time necessary for effective preparation, taking into account the

 7   exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of

 8   justice served by excluding the time from February 3, 2022 until March 31, 2022 from

 9   computation under the Speedy Trial Act outweigh the best interests of the public and the

10   defendant in a speedy trial.

11          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time

12   from February 3, 2022 until March 31, 2022 shall be excluded from computation under the

13   Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

14

15   DATED: ________________              _____________________________________

16                                        HON. WILLIAM H. ORRICK
                                          United States District
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                                        STIP. TO VACATE AND RESET HEARING; [PROPOSED] ORDER
                                                                     CASE NO. CR 21-00331 WHO
